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14                                  UNITED STATES DISTRICT COURT

15                       FOR THE EASTERN DISTRICT OF CALIFORNIA

16

17   TROY M. LINDELL, ON BEHALF OF                     Case No. 1:11-CV-02053-LJO-BAM
     HIMSELF AND ALL OTHERS
18   SIMILARLY SITUATED,                               CLASS ACTION

19                     Plaintiff,                      FINDINGS AND RECOMMENDATIONS
                                                       GRANTING PLAINTIFF’S (1) MOTION FOR
20          v.                                         FINAL APPROVAL OF CLASS ACTION
                                                       SETTLEMENT; AND (2) MOTION FOR
21   SYNTHES USA, SYNTHES USA SALES                    AWARD OF ATTORNEYS’ FEES & COSTS
     LLC, SYNTHES SPINE COMPANY LP,                    AND CLASS REPRESENTATIVE SERVICE
22                                                     AWARD
                       Defendants.
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 1          On December 16, 2016, a hearing was held on the motion of Plaintiff Troy Lindell for
 2   final approval of the class action settlement in this matter, which this Court preliminarily
 3   approved in its findings and recommendations dated September 13, 2016 as adopted by an order
 4   dated September 21, 2016 (collectively, the “Preliminary Approval Order”). In accordance with
 5   the Preliminary Approval Order, Class Members have been given notice of the terms of the
 6   Settlement and the opportunity to object to it or to exclude themselves from its provisions, as well
 7   as to submit challenges to the data from which their distributions under the settlement will be
 8   calculated.
 9          Having considered the parties’ written and oral submissions regarding Plaintiff’s Motion
10   for Final Approval of Class Action Settlement (the “Final Approval Motion”) and Plaintiff’s
11   Motion for Award of Attorneys’ Fees & Costs and Class Representative Service Award (the “Fee
12   Motion”) (collectively, the “Motions”), the Court finds and recommends pursuant to Federal Rule
13   of Civil Procedure 23 that the Motions should be granted. The Court THEREFORE
14   RECOMMENDS that the Court enter the following:
15          1.       This Order incorporates by reference the definitions in the Parties’ Settlement
16   Agreement (the “Settlement”), attached as Exhibit 1 to the Declaration of Catha Worthman filed
17   in support of Plaintiff’s preliminary approval motion (ECF No. 249-4). This includes the
18   following final definition of the classes in this matter, as previously adopted by the Court in its
19   preliminary approval order:
20                 a. An “Expense Class” of all former and current sales consultants who
                      were employed by Synthes in California from four years prior to the
21                    filing of this action (December 13, 2007) to July 14, 2016, and who
                      were subject to the following “straight commission” compensation
22                    policies:
23                        i. The policy that sales consultants from the Trauma and Spine
                             Sales Divisions who receive “straight commission” “are not
24                           eligible for an automobile allowance or in-territory business
                             expense reimbursement”; and
25
                          ii. The policy that sales consultants from the CMF Sales
26                           Division receive “a predetermined base salary of $30,000,
                             plus a higher level of commission with no expenses;” and
27
                b. A “Deductions Class” of all former and current Sales Consultants
28                 who were employed by Synthes in California from four years prior
      FINDINGS AND RECOMMENDATIONS GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1                   to the filing of this action (December 13, 2007) to July 14, 2016,
                     who at some time during Synthes’ employ had a deduction assessed
 2                   against them.
 3   ECF No. 257.

 4                          The Settlement Is Fair, Reasonable, and Adequate

 5           2.      Pursuant to the Preliminary Approval Order, the Settlement Administrator sent a

 6   Notice of Proposed Class Action Settlement and Class Action Settlement Hearing (the “Class

 7   Notice”) to each Class Member by first-class mail. The Class Notice informed Class Members of

 8   the terms of the Settlement, their right to object to the Settlement, to elect not to participate in the

 9   Settlement, or to challenge the data by which their distribution would be calculated, and their

10   right to appear in person or by counsel at the final approval hearing and be heard regarding

11   approval of the Settlement. Adequate periods of time were provided for these procedures.

12           3.      The Court finds and determines that the Class Notice and the procedure for its

13   distribution afforded adequate protections to Class Members and provide the basis for the Court

14   to make an informed decision regarding approval of the Settlement based on the responses of

15   Class Members. Notice was accomplished in all material respects in the manner prescribed by the

16   Settlement. The Court finds and determines that the notice provided in this case was the best

17   notice practicable, which satisfied the requirements of law and due process.

18           4.      Pursuant to Rule 23(e), the Court further finds and determines that the terms of the

19   Settlement are fair, reasonable and adequate to the Classes and to each Class Member and that the

20   Class Members who have not opted out will be bound by the Settlement, that the Settlement is

21   ordered finally approved, and that all terms and provisions of the Settlement should be and hereby

22   are ordered to be consummated. The Court specifically finds that the Settlement is rationally

23   related to the strength of plaintiffs’ claims given the risk, expense, complexity, and duration of

24   further litigation. This Court also finds that the Settlement is the result of arms-length

25   negotiations between experienced counsel representing the interests of the class and Synthes, after

26   thorough factual and legal investigation. Staton v. Boeing, 327 F.3d 938, 960 (9th Cir. 2003);

27   Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1291 (9th Cir. 1992).

28           5.      The Court further finds that the response of the Certified Classes to the Settlement
      FINDINGS AND RECOMMENDATIONS GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   supports settlement approval. Of the 186 class members, none elected to opt out of the
 2   Settlement. No class member filed written objections to the Settlement as part of this notice
 3   process or stated an intent to appear at the final approval hearing. Only a single class member
 4   challenged the data upon which his distribution would be determined, which challenge was
 5   resolved by the Settlement Administrator and the parties.
 6          6.      The Court finds and determines that the proposed plan of allocation is rationally
 7   related to the relative strengths of the respective claims asserted. The Court hereby gives final
 8   approval to and orders the payment to Class Members in accordance with the terms of the
 9   Settlement.
10                           Attorneys’ Fees and Reimbursement of Expenses
11          7.      The Court concludes that Plaintiffs’ request for attorneys’ fees and litigation
12   expenses is reasonable, and awards Class Counsel $1,500,000 in attorneys’ fees, and
13   reimbursement for costs of up to $185,000 to be determined by the Settlement Administrator
14   based upon a final showing submitted by Class Counsel to the Settlement Administrator at the
15   time of distribution.
16          8.      The requested fees are fair and reasonable under the percentage method for
17   determining attorneys’ fees from a common fund, as verified by a lodestar cross-check. Laffitte v.
18   Robert Half Internat’l, Inc., 1 Cal. 5th 480, 504-06 (2016). The court has considered the multi-
19   factor test set forth in Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048-50 (9th Cir. 2002), and
20   determined that award of fees of 30% of the common fund is justified by the excellent results
21   achieved for the Certified Classes, a settlement payment of $5,0000,000; the risk to Class Counsel
22   in taking this case; the substantial incidental benefits to the Certified Classes, including cessation
23   of one the challenged deductions and modification of the challenged expense policy; Class
24   Counsel’s expectations based on fees awarded in similar litigation; and the burden borne by Class
25   Counsel over the past five years since initiating this litigation. In addition, Class Counsel has
26   expended considerable time on this matter and incurred a lodestar substantially larger than the
27   requested fee, at both market and local Fresno rates.
28          9.      In addition, the Court concludes that the litigation expenses of up to $185,000
      FINDINGS AND RECOMMENDATIONS GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   were or will be incurred in the prosecution of the action and execution of the Settlement and were
 2   and are reasonable and proper. Attorneys are entitled to “recover as part of the award of
 3   attorney’s fees those out-of-pocket expenses that would normally be charged to a fee-paying
 4   client.” Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir.1994) (citation omitted). In addition, the
 5   Court authorizes distribution of additional actual costs incurred up to $185,000 by the Settlement
 6   Administrator upon a final showing by Class Counsel at the time of distribution.
 7          10.     The Court therefore grants the motion for attorneys’ fees and costs.
 8                                  Class Representative Service Award
 9          11.     The Court concludes that Plaintiff’s request for a service award of $10,000 is
10   reasonable. Courts commonly grant service awards in class action cases to compensate named
11   plaintiffs for the time and effort they spent in assisting the prosecution of the action, the risks they
12   incurred by being a litigant, and any other burdens they bore. Rodriguez v. West Publishing Co.,
13   563 F.3d 948, 958-59 (9th Cir. 2009); Staton v. Boeing Co., 327 F.3d 938, 977 (9th Cir. 2003).
14   The requested service award—at 0.2% of the total settlement and less than the average
15   distribution of over $17,000—is in line with service awards in this district. See, e.g., Ontiveros v.
16   Zamora, 303 F.R.D. 356, 366 (E.D. Cal. 2014) (approving $15,000 service award); Monterrubio v.
17   Best Buy Stores, 291 F.R.D. 443, 463 (E.D. Cal. 2013) (approving service award of $2500, 0.62%
18   of the total settlement, where average distribution was only $66). Moreover, Mr. Lindell
19   undertook substantial effort and risk to participate as Class Representative.
20          12.     The Court therefore grants Plaintiff’s request for a service award of $10,000.
21                                        Settlement Administration
22          13.     The Court approves payment of settlement administration expenses to the
23   Settlement Administrator, Settlement Services, Inc. (“SSI”), in an amount not to exceed $20,000.
24          14.     The Court approves the Legal Aid Society—Employment Law Center (“LAS-
25   ELC”) as the cy pres beneficiary of any remaining funds from uncashed settlement payment
26   checks pursuant to paragraph 44 of the Settlement Agreement. “The mission of the LAS-ELC is
27   to promote the stability of low-income workers, and represent such workers in claims arising
28   from violations of federal and state wage and hour laws.” See Legal Aid Society—Employment
      FINDINGS AND RECOMMENDATIONS GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   Law Center, https://las-elc.org/about. As such, there is a substantial nexus between the proposed
 2   cy pres recipient and the interests of the class members. See Lane v. Facebook, Inc., 696 F.3d
 3   811, 821 (9th Cir. 2012). Therefore, LAS-ELC is an appropriate cy pres beneficiary for this
 4   lawsuit, which sought to vindicate state wage and hour laws on behalf of the Certified Classes.
 5                                        CAFA and PAGA Notice
 6          15.     Pursuant to CAFA, not later than 10 days after the motion seeking preliminary
 7   approval of the Settlement was filed in court, Synthes served upon the Attorney General of the
 8   United States and the appropriate state official of each state in which a class member resides a
 9   notice of the Settlement consisting of: a copy of the complaint in this action; a notice of the
10   scheduled judicial hearings in this class action; copies of the Settlement and proposed Class
11   Notice; and the estimated number of class members who reside in each state and the estimated
12   proportionate share of the claims of class members in each state. The notice of Settlement also
13   invited comment on the Settlement. This Final Approval Order is not being issued earlier than 90
14   days after the later of the dates on which the appropriate federal and state officials were served
15   with the notice of proposed settlement.
16          16.     The Court finds and determines that Synthes’ notice of Settlement was timely,
17   adequate, and compliant with the statutory requirements of CAFA. Accordingly, 28 U.S.C. §
18   1715(e) has no application to the Settlement.
19          17.     Pursuant to California’s Private Attorney General Act (“PAGA”), California Labor
20   Code section 2699(l)(2), Plaintiff submitted to the California Labor and Workforce Development
21   Agency (LWDA) the proposed settlement of this matter simultaneously with his Motion for Final
22   Approval, fulfilling the statutory requirements of section 2699(l)(2).
23                        Dismissal of This Action and Entry of Final Judgment
24          18.     By operation of the entry of these Findings and Recommendations for Final
25   Approval and upon final adoption by the District Judge, pursuant to the Settlement, all Class
26   Members are permanently barred from prosecuting any Released Claims against any of the
27   Released Parties, as defined in the Settlement Agreement.
28          19.   If, for any reason, the Settlement ultimately does not become Final, this Final
      FINDINGS AND RECOMMENDATIONS GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   Approval Order will be vacated; the Parties will return to their respective positions in this action
 2   as those positions existed immediately before the parties executed the Settlement.
 3          20.     Without affecting the finality of the Court’s judgment in any way, the Court
 4   retains jurisdiction over this matter for purposes of resolving issues relating to interpretation,
 5   administration, implementation, effectuation, and enforcement of the Settlement.
 6          21.     This action is dismissed with prejudice, each side to bear its own costs and
 7   attorneys’ fees except as provided by the Settlement and the Court’s orders.
 8          22.     By means of this Final Approval Order, this Court hereby directs the Clerk of the
 9   Court to enter final judgment in this action pursuant to Federal Rule of Civil Procedure 58.
10          These findings and recommendations are submitted to the district judge assigned to this
11   action, pursuant to Title 28 of the United States Code section 636(b)(1)(B) and this Court’s Local
12   Rule 304. Within fourteen (14) days of service of this recommendation, any party may file
13   written objections to these findings and recommendations with the Court and serve a copy on all
14   parties. Such a document should be captioned “Objections to Magistrate Judge’s Findings and
15   Recommendations.” The district judge will review the magistrate judge’s findings and
16   recommendations pursuant to Title 28 of the United States Code section 636(b)(1)(C). The
17   parties are advised that failure to file objections within the specified time may waive the right to
18   appeal the district judge’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).
19          IT IS SO ORDERED.
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21          Dated: December 20, 2016                                 /s/ Barbara    A. McAuliffe
                                                            UNITED STATES MAGISTRATE JUDGE
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      FINDINGS AND RECOMMENDATIONS GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                   AND AWARDING ATTORNEYS’ FEES & COSTS AND SERVICE AWARD

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